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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                                                                CIerk       s. Di
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                              SEALED

 v.                                                     CaseNo. 4:20CR
                                                       Judge MCftZanf



 CRAIG REASON (3)
      a/k/a Midlife Crisis


                                       INDICTMENT

      THE UNITED STATES GRAND JURY CHARGES:

                                       COUNT ONE

                                                 Violation: 21 U.S.C. § 846 (Conspiracy
                                                 to Possess with Intent to Distribute
                                                 Methamphetamine)

         That from sometime in or around December 2018, and continuously thereafter up

to in or around July 2019, in the Eastern District of Texas and elsewhere,

                             and Craig Reason, did knowingly and intentionally combine,

conspire, and agree with each other and other persons known and unknown to the United

States Grand Jury, to knowingly and intentionally possess with the intent to distribute a

substance or mixture containing a detectable amount of methamphetamine, in violation of

21 U.S.C. § 841(a)(1).

         In violation of 21 U.S.C. § 846.



Indictment
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              NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
          As a result of committing the offenses charged in this Indictment, the defendant

 shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all p operty used to commit

 o facilitate the offenses, proceeds from the offenses, and property derived from proceeds

 obtained directly or indirectly from the offenses.


                                                      A TRUE BILL



                                                      GRAND JURY FOREPERSON

 JOSEPH D. BROWN
 UNITED STATES ATTORNEY



 G.R. JACKSON Date
 ANAND VARADARAJAN

 Attorneys for the United States




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                        IN THE UNITED STATES DISTRICT COURT
                         FO THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

  UNITED STATES OF AMERICA §                               SEALED

                                                           Case No. 4:20CR
                                                           Judge




  CRAIG REASON (3) §
     a/k/a Midlife Crisis


                                   NOTICE OF PENALTY

                                          Count One

 Violation: 21 U.S.C. § 846

 Penalty: Imprisonment for a term of not more than 20 years, a fine not to exceed S1
              million, or both; and a term of supervised release of at least three years.

                If it is shown that the defendant committed such violation after a prior
                conviction for a felony drug offense has become final, not more than 30
                years, a fine not to exceed $2 million, or both; a term of supervised release
                of at least 6 years.


 Special
 Assessment: $100.00




 Notice of Penalty
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